
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks to recover $34,043.38 for the cost of laboratory services that were provided to individuals at William R. Sharpe Jr. Hospital in Weston. Since there was no formal contract in place between claimant and William R. Sharpe Jr. Hospital, the State Auditor’s Office did not approve the invoices for payment.
In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in that appropriate fiscal year from which the invoice could have been paid.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $34,043.38.
Award of $34,043.38.
